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 5   Keith Britto and Yvonne Britto
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 9                         UNITED STATES BANKRUPTCY COURT

10                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

11
     In re:                                      CASE NO: 17-42304
12

13   Keith Britto and Yvonne Britto,             CHAPTER 11
14                 DEBTORS,
15                                                 MOTION TO VALUE LIEN
                                                   AND COLLATERAL OF BANK OF
16   __________________________/                   NEW YORK MELLON/SHELLPOINT
                                                   MORTGAGE SERVICING
17

18                                                 NO HEARING SET

     To: Bank of New York Mellon, Shellpoint Mortgage Servicing, the U. S.
19   Trustee and all parties of interest:
20    PLEASE TAKE NOTICE that the Debtors, Keith Britto and Yvonne Britto,
21   hereby move the above entitled court located at 1300 Clay Street,
22   Courtroom 201, Oakland, California 94612 before the Honorable Roger

23   L. Efremsky for an order valuing the lien and collateral of Bank of

24   New York Mellon/Shellpoint Mortgage Servicing, (hereinafter referred

25   to as “Shellpoint”) against the property commonly known as 2699 St.

     Helena Court, Livermore, California 94550.
26


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                                                 1
 1       Debtors also request that the amount of Shellpoint’s secured claim

 2   not exceed the value of the collateral, less the claims of creditors
     holding senior liens or security interests.              This determination shall
 3
     supersede any greater claim demanded in a proof of claim.                          Any
 4   objections to the Creditor’s claim are reserved.
 5       Debtors hereby move to value the collateral at $1,050,000, limit

 6   Bank of New York Mellon/Shellpoint’s secured claim to $1,050,000, and
     that any amount in excess be treated as a general unsecured claim,
 7
     pursuant to 11 U.S.C. §§ 506 and 1322 (b)(2), FRBP 3012 and 9014, and
 8
     B.L.R. 9014-1, which determination shall become part of Debtors’
 9   confirmed Chapter 11 Plan.

10        This motion is also made pursuant to 28 U.S.C. §1334 (a), (b) and
     (e), 28 U.S.C. § 157 (a) and (b) and 28 U.S.C. §151.                  This is a core
11
     proceeding pursuant to 28 U.S.C. § 157.             The debtors request that the
12
     court take judicial notice of all prior documents and exhibits filed
13   in this case.
14         This motion will also be based on the Declaration of Keith
     Britto, the accompanying points and authorities and on such oral or
15
     documentary evidence that may be presented at a hearing.
16
                    NOTICE TO ALL PARTIES IN INTEREST
17   NOTICE IS HEREBY GIVEN that B.L.R. 9014-1 of the United States
18   Bankruptcy Court for the Northern District of California, prescribes
     the procedures to be followed and that any objection to the requested
19
     relief, or a request for a hearing on the matter, in either case,
20
     grounded only on any material inaccuracy in the above certification,
21   must be filed and served upon the initiating party within 21 days of
22   mailing of the notice.         A request for a hearing must be accompanied
     by any declarations or memorandum of law the requesting party wishes
23
     to present in support of its position. If there is no timely objection
24
     to the requested relief or a request for a hearing, the Court may
25   enter an order granting the relief by default; and the initiating
26   party will give at least 10 days written notice of the hearing to the


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                                                 2
 1   objecting or requesting party, and to any trustee, in the event an

 2   objection or request for hearing is timely made.
        THE COURT MAY DETERMINE THE VALUE OF COLLATERAL OF A SECURED
 3
     CREDITOR AND, THEREFORE, THE VALUE OF THE SECURED LIENS AGAINST THE
 4                     PROPERTY PURSUANT TO 11 U.S.C. §506A.
 5         11 U. S. C. §506a allows the court to reduce the claim of a

 6   secured creditor on its collateral to the value of the collateral.
     See Re Hoagland, 886 F.2d 1182 (9th Cir. Or.1989).
 7
           Because the market value of the collateral is no more than
 8
     $1,050,000,     the    underlying       first    loan    by   Bank     of   New    York
 9   Mellon/Shellpoint Mortgage Servicing is valued at $1,050,000.

10         AN OWNER OF PROPERTY MAY PROVIDE AN OPINION OF ITS VALUE
            The debtors herein may provide an opinion of value of the
11
     collateral of the lien holder since they own the property.                     See So.
12
     Central Livestock Dealers, Inc., v. Security State Bank 614 F.2d 1056
13   (5th Cir. 1980). Fed.R.Evid. §701. Such an opinion is admissible as
14   evidence of value and may be provided in a declaration. The debtors
     herein have provided such an opinion in the attached declaration of
15
     Keith Britto.
16
                    NOTICE TO ALL PARTIES IN INTEREST
17   NOTICE IS HEREBY GIVEN that B.L.R. 9014-1 of the United States
18   Bankruptcy Court for the Northern District of California, prescribes
     the procedures to be followed and that any objection to the requested
19
     relief, or a request for a hearing on the matter, in either case,
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23
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25   enter an order granting the relief by default; and the initiating
26   party will give at least 10 days written notice of the hearing to the


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                                                 3
 1   objecting or requesting party, and to any trustee, in the event an

 2   objection or request for hearing is timely made.
                  1/23/18                       /S/ Lewis Phon
 3
     Dated:      _____________                ____________________________________
 4                                            Lewis Phon, Attorney for Debtors
 5                                            Keith Britto and Yvonne Britto

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